     Case 18-03509-MM7                           Filed 06/11/18          Entered 06/13/18 21:20:35                    Doc 10      Pg. 1 of 4

Information to identify the case:

Debtor 1:
                      Juan Ortiz                                                    Social Security number or ITIN:    xxx−xx−2635
                                                                                    EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name    Last Name

Debtor 2:                                                                           Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)                                                                 EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Southern District of California              Date case filed for chapter:         7       6/8/18

Case number:          18−03509−MM7

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                  12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                   About Debtor 1:                                       About Debtor 2:

1.        Debtor's full name                       Juan Ortiz

2.        All other names used in the aka Juan R Ortiz, aka Juan Romero Ortiz
          last 8 years

3.        Address                                  PO Box 178446
                                                   San Diego, CA 92177

4.         Debtor's attorney                       Eugenio Ramos                                         Contact phone 619−477−7600
                                                   Law Office of Eugenio Ramos                           Email ramoslawyer@aol.com
           Name and address                        2424 Hoover Ave, Suite G
                                                   National City, CA 91950

5.        Bankruptcy trustee                      Ronald E. Stadtmueller                                 Contact phone 858−564−9310
                                                  10755 Scripps Poway Pkwy., #370                        Email: ecfstadt@aol.com
          Name and address                        San Diego, CA 92131
                                                                                                                   For more information, see page 2 >
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Debtor Juan Ortiz                                                                                                        Case number 18−03509−MM7


6. Bankruptcy clerk's office                         Jacob Weinberger U.S. Courthouse                              Hours open
                                                     325 West F Street
    Documents in this case may be filed at           San Diego, CA 92101−6991                                      9:00am − 4:00pm
    this address. You may inspect all records
    filed in this case at this office or online at
    www.casb.uscourts.gov.                                                                                         Contact phone 619−557−5620


7. Meeting of creditors                              July 10, 2018 at 09:00 AM                                     Location:

    Debtors must attend the meeting to be            The meeting may be continued or adjourned to a                Office of the U.S. Trustee, First
    questioned under oath. In a joint case,                                                                        Floor, Room 1234 (A), 880 Front
    both spouses must attend. Creditors may          later date. If so, the date will be on the court
    attend, but are not required to do so.           docket.                                                       Street, San Diego, CA 92101


8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 9/10/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to
                                                       receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                       or

                                                     • if you want to have a debt excepted from discharge
                                                       under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied
                                                       under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.   conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     www.casb.uscourts.gov. If you believe that the law does not authorize an exemption that
                                                     the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                     the objection by the deadline to object to exemptions in line 9.
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Debtor Juan Ortiz                                                                                    Case number 18−03509−MM7

                         NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
   An order for relief having been entered in the above−referenced case on 6/8/18, the following person is named Interim
Trustee of the estate of the debtor:


                                                     Ronald E. Stadtmueller
                                                10755 Scripps Poway Pkwy., #370
                                                     San Diego, CA 92131

                                            TRUSTEE REQUIREMENTS
   The Trustee requires that Debtor(s) show a government (picture) ID and evidence of their social security number at the
341(a) Creditor's Meeting.
   Debtors are to provide the Trustee with written documentation supporting income earnings as set forth in Schedule I of the
debtor's case within 14 days of the filing of the case. If documents are not provided, the Trustee may move for dismissal of the
case without further notice to the Debtor or creditors. Alternatively, the Trustee may seek an extension of time to file to move for
dismissal if the Trustee is investigating assets of the estate, without further notice to the Debtor or creditors.
   Debtors and debtors' attorneys must review the Standing Administration Guidelines immediately to comply with the
production of supporting documentation of material represented in the Schedules and Statement of Financial Affairs. Failure to
do so in a timely manner may result in continuances of Meetings and additional appearances. The Standing Administration
Guidelines are available on the internet at:

                                          http://www.casb.uscourts.gov/pdf/guidelines.pdf


                                                 DISMISSAL OF CASE
   Notice is given that this case will be dismissed if the debtor(s) fails to pay the filing fee pursuant to Rules of Bankruptcy
Procedure 1006. This dismissal will occur without further notice.
   Furthermore, notice is given that if the Debtor fails to file schedules and statements or other documents required by the Rules
of Bankruptcy Procedure 1007 and/or 11 U.S.C. 521, or if the Debtor or Joint Debtor fails to appear at the scheduled §341(a)
meeting that the Court, Trustee or U.S. Trustee may move for dismissal of the case without further notice to the Debtor or
Creditors. A party in interest may object to the motion for dismissal at the §341(a) meeting, at which time a hearing on the
objection will be scheduled.

     NOTICE OF FILING OF FINANCIAL MANAGEMENT COURSE CERTIFICATE
   Notice is given that this case will be closed with no discharge if the debtor(s) fail to file the required Financial Management
Course Certificate within 60 days after the first date set for the meeting of creditors under §341.

                                                BANKRUPTCY FRAUD
   If you have information regarding any bankruptcy fraud or abuse, please contact the United States Trustee in writing at 880
Front Street, 3rd Floor, Ste. 3230, San Diego, CA 92101 and/or by calling 619−557−5013.

                                                                                                                               page 3


                                                                                For the Court:

                                                                                Barry K. Lander, Clerk
                                                                                United States Bankruptcy Court
Dated: 6/11/18                                                                  Southern District of California
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                                              United States Bankruptcy Court
                                             Southern District of California
In re:                                                                                                     Case No. 18-03509-MM
Juan Ortiz                                                                                                 Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0974-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Jun 11, 2018
                                      Form ID: 309A                      Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 13, 2018.
db             +Juan Ortiz,   PO Box 178446,   San Diego, CA 92177-8446
smg             California Department of Tax and Fee Administratio,   Account Information Group, MIC:29,
                 P.O. Box 942879,   Sacramento, CA 94279-0029
smg            +Div. of Labor Standards Enforcement,   7575 Metropolitan Drive, Suite 210,
                 San Diego, CA 92108-4424
smg             Dun & Bradstreet,   Attn: Lynne Roberts, 2nd Floor,   3501 Corporate Parkway,   PO Box 520,
                 Center Valley, PA 18034-0520
14450449       +Citibank Corporate Office,   399 Park Ave,   New York, NY 10022-4614

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ramoslawyer@aol.com Jun 12 2018 01:30:23       Eugenio Ramos,
                 Law Office of Eugenio Ramos,   2424 Hoover Ave, Suite G,     National City, CA 91950
tr             +EDI: FRESTADTMUELLER.COM Jun 12 2018 05:33:00      Ronald E. Stadtmueller,
                 10755 Scripps Poway Pkwy., #370,    San Diego, CA 92131-3924
smg            +EDI: EDD.COM Jun 12 2018 05:28:00      Employment Develop. Dept., State of CA,
                 Bankruptcy Unit - MIC 92E,   P.O. Box 826880,    Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM Jun 12 2018 05:33:00      Franchise Tax Board,     Attn: Bankruptcy,
                 P.O. Box 2952,   Sacramento, CA 95812-2952
ust            +E-mail/Text: ustp.region15@usdoj.gov Jun 12 2018 01:30:37        United States Trustee,
                 Office of the U.S. Trustee,   880 Front Street,     Suite 3230,    San Diego, CA 92101-8897
14450446        EDI: BANKAMER.COM Jun 12 2018 05:33:00      Bankamerica,    Po Box 982238,    El Paso, TX 79998
14450447        EDI: BANKAMER.COM Jun 12 2018 05:33:00      Bk Of Amer,    Po Box 982238,    El Paso, TX 79998
14450444       +EDI: BANKAMER.COM Jun 12 2018 05:33:00      Bank Of America,     Attn: Bankruptcy NC4-105-03-14,
                 Po Box 26012,   Greensboro, NC 27420-6012
14450445       +EDI: BANKAMER2.COM Jun 12 2018 05:33:00      Bank Of America, CEO,     Attn: Brian Moynian, CEO,
                 401 N Tryon St,   Charlotte, NC 28202-2123
14450448       +EDI: CITICORP.COM Jun 12 2018 05:33:00      Citi,    Po Box 6241,    Sioux Falls, SD 57117-6241
14450450       +EDI: WFFC.COM Jun 12 2018 05:33:00      Wells Fargo,    Po Box 14517,    Des Moines, IA 50306-3517
14450451       +EDI: WFFC.COM Jun 12 2018 05:33:00      Wells Fargo Corporate,     420 Montgomery St,
                 San Francisco, CA 94104-1298
                                                                                               TOTAL: 12

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
smg*             +United States Trustee,    Office of the U.S. Trustee,   880 Front Street,                        Suite 3230,
                   San Diego, CA 92101-8897
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 13, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 8, 2018 at the address(es) listed below:
              Eugenio Ramos    on behalf of Debtor Juan Ortiz ramoslawyer@aol.com
              Ronald E. Stadtmueller   ecfstadt@aol.com, res@trustesolutions.net;ecfstadt@gmail.com
              United States Trustee   ustp.region15@usdoj.gov
                                                                                            TOTAL: 3
